            Case 1:19-cr-01991-JB Document 14 Filed 07/16/19 Page 1 of 2



                        IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

                               Plaintiff,

vs.                                                                    CR. NO. 19-CR-1991 JB


ANTONIO CARRILLO,

                               Defendant.

                     MOTION TO AMEND CONDTIONS OF RELEASE

       Defendant Antonio Carrillo, by and through counsel, hereby moves this Court to modify the

conditions of release. Specifically, Defendant states as follows:

       1. Defendant is a lifelong resident of New Mexico and does not pose a flight risk.

       2. Defendant is sixty-two years old and has not criminal history and is not a danger to the

community.

       3.   Defendant is disabled and receives a Social Security disability pension. He suffers from

a variety of ailments, including high blood pressure, PTSD, and anxiety.

       4. He is currently facing a single count indictment alleging that he transmitted a threat by

way of a social media account, in violation of 18 U.S.C. § 875(c). Defendant disputes the contention

that the social media post at issue rises to the level of a violation of 18 U.S.C. § 875(c), and

Defendant is presumed innocent of said charge. Also, there is no evidence in the discovery provided

to defense counsel that Defendant ever engaged in any overt act or intent to carry out any alleged

threat made on his social media account. In addition, regarding the nature of the offense, it should be

noted that even if Defendant were convicted of the pending indictment, the applicable sentencing
           Case 1:19-cr-01991-JB Document 14 Filed 07/16/19 Page 2 of 2



guideline establishes a relatively minimal Zone C sentence of 10 to 16 months. See USSC § 2A6.1.

       5. Defendant was arrested on June 21, 2019. On June 27, 2019, he was released to the

custody of the La Pasada Halfway House, and additional conditions that require that he take his

prescribed medication and not access or use his social media accounts.

       6. Defendant has complied with all conditions of release but contends that he can continue

said compliance at his family home in Los Lunas, New Mexico where he resides with his wife.

       7. AUSA Jason Wisecup opposes this motion.

       Wherefore, based on the foregoing, Defendant Antonio Carrillo respectfully requests that his

conditions of release be modified as requested.


                                                            Respectfully Submitted,

                                                  By:
                                                            Joe M. Romero, Jr.
                                                            ROMERO & WINDER, PC
                                                            Attorney for Defendant
                                                            1905 Lomas Blvd. NW
                                                            Albuquerque, NM 87104
                                                            (505) 843-9776
                                                            Email: joe@romeroandwinder.com


I hereby certify that a true and correct copy
of the foregoing pleading was faxed and
emailed to opposing counsel this 16th day
of July, 2019.

__________________________
JOE M. ROMERO, JR.




                                                  2
